    Case: 1:24-cv-11350 Document #: 32 Filed: 03/02/25 Page 1 of 2 PageID #:503




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 LAKEISHA STONE

                        Plaintiff,

        v.                                                 No. 24 CV 11350

 NORTH LAWNDALE COLLEGE PREP,                              Judge Sharon Johnson Coleman
 et al
              Defendants.


                                     NOTICE OF MOTION


PLEASE TAKE NOTICE, that on March __11 2025____ at __10:00___ AM, or as soon as
thereafter I may be heard, I shall appear before the Honorable Judge Sharon Johnson Coleman or
any judge sitting in her stead in Courtroom 1241 of the U.S. District Court of the Northern
District of Illinois, Eastern Division, 219 S. Dearborn St., Chicago, Illinois and shall present the
following: Plaintiff’s Notice of Voluntary Dismissal of Count IX of the Complaint, and
Request to Remand Case to State Court and Plaintiff’s Motion for Extension of Time to
File Response to Motion to Dismiss Second Amended Complaint.



Date: March 2, 2025                                   Respectfully submitted,

                                                      LAKEISHA STONE

                                                      /s/ Jessica G. Brown
                                                      Jessica G. Brown
                                                      Post Office Box 8022945
                                                      Chicago, Illinois 60680-2945
                                                      (773) |426-4749
                                                      ARDC #: 6307684

                                                      Counsel for Plaintiff
    Case: 1:24-cv-11350 Document #: 32 Filed: 03/02/25 Page 2 of 2 PageID #:504




                                 CERTIFICATE OF SERVICE
I hereby certify that on March 2, 2025, I filed the foregoing document with the Clerk
of the Court using the Court’s CM/ECF filing system, which will send notice of such filing to all
counsel of record. I further certify that on the date listed below, I sent the foregoing document
via email to:
                                         Jason T. Manning
                                        Kevin P. McKeown
                        Hodges, Loizzi, Eisenhammer, Rodick & Kohn LLP
                                 500 Park Boulevard, Suite 1000
                                          Itasca, IL 60143
                                       Tel.: (847) 670-9000
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                                      jmanning@hlerk.com
                                     kmckeown@hlerk.com

                Counsel for NLCP, the Board of NLCP, and the individual Defendants




Signature: /s/ Jessica G. Brown               Date: March 2, 2025
Jessica G. Brown
Attorney for Plaintiff
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